19 F.3d 1430
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darold Donnell TAYLOR, Petitioner Appellant,v.P.L. HUFFMAN, Respondent Appellee.
    No. 93-6708.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 17, 1994.Decided:  March 29, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-92-806-R).
      Darold Donnell Taylor, appellant pro se.
      Robert Quentin Harris, Assistant Attorney General, Richmond, Virginia, for appellee.
      W.D.Va.
      DISMISSED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Taylor v. Huffman, No. CA-92-806-R (W.D. Va.  May 28, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    